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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                 8:05CR163
                                                 )
         v.                                      )   REPORT AND RECOMMENDATION
                                                 )             AND
JAZMIN CERNA and                                 )
DANIEL CERNA                                     )                   ORDER
                                                 )
                       Defendants.               )


         At the conclusion of the hearing on July 27, 2005, on the defendants’ motions to
suppress (Filing Nos. 39, 60 and 61), I stated my conclusions on the record and my decision
to recommend that the motions to suppress be denied.                   In accordance with that
announcement,


         IT IS RECOMMENDED to the Honorable Laurie Smith Camp, United States District
Judge, that the motions to suppress, Filing Nos. 39, 60 and 61, be denied in all respects.


         FURTHER, IT IS ORDERED:
         1.     The clerk shall cause an expedited transcript of the hearing to be prepared and
filed.
         2.     Pursuant to NECrimR 57.3 any objection to this Report and Recommendation
shall be filed with the Clerk of the Court within ten (10) days after the transcript is available to
counsel for reading in the clerk’s office. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection. Failure to file a brief in support of any objection may be deemed an abandonment
of the objection.
         Dated this 28th day of July, 2005.
                                              BY THE COURT:
                                              s/Thomas D. Thalken
                                              United States Magistrate Judge
